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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 NOVIA S. WEBSTER-COLQUHOUN,

                                 Plaintiff,
                                                             No. 21-CV-7101 (KMK)
        v.
                                                              OPINION & ORDER
 ROBERT R. COLQUHOUN,

                              Respondent.


Appearances:

Nancy M. Green, Esq.
Richard Min, Esq.
Burger Green & Min LLP
New York, NY
Counsel for Petitioner

Robert R. Colquhoun
Mount Vernon, NY
Pro Se Respondent

KENNETH M. KARAS, District Judge:

       Petitioner Novia S. Webster-Colquhoun (“Petitioner” or “Webster-Colquhoun”) brought

this Petition against pro se Respondent Robert. R. Colquhoun (“Respondent” or “Colquhoun”)

under the Convention on the Civil Aspects of International Child Abduction (the “Hague

Convention”) and the International Child Abduction Remedies Act (“ICARA”), 22 U.S.C. §

9001, for the return of their child, A.C. (the “Child”), to Jamaica, from where she was staying

with Respondent in Mount Vernon, NY. (Pet. ¶¶ 1–2, 8 (Dkt. No. 1).) After the Parties

voluntarily agreed that Respondent would return the Child to Jamaica, and the Court entered a

Voluntary Return Order reflecting their agreement, (see Voluntary Return Order (Dkt. No. 14)),

Petitioner brought a Motion for Attorney’s Fees and Costs (the “Motion”), (See Pet’r’s Mot. for
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Attorney’s Fees and Costs and Mem. of Law (“Pet’r’s Mot.”) (Dkt. No. 18)). For the reasons

explained below, the Motion is granted in part and denied in part.

                                          I. Background

       A. Factual Background

       According to the Petition, Petitioner is a citizen of Jamaica, and Respondent is a dual

citizen of Jamaica and the United States. (Pet. ¶¶ 10–11.) The Parties married in Jamaica in

October 2011. (Id. ¶¶ 13–14.) After they married, Petitioner continued living in Jamaica, and

Respondent traveled back and forth between Jamaica and the United States. (Id. ¶ 15.) The

Child was born in 2012 in Jamaica. (Id. ¶ 16.) In April 2015, Petitioner and Respondent

separated, after Respondent allegedly became physically abusive toward Petitioner. (Id. ¶ 17.)

According to Petitioner, the Parties informally agreed that Petitioner would have custody of the

Child and Respondent would have visitation in New York during holiday periods. (Id. ¶ 18.)

From 2015 to 2020, the Child would visit Respondent during the summer and Christmas

holidays for approximately four to six weeks. (Id.) On August 1, 2020, the Child left Jamaica to

visit Respondent in New York for the summer holiday, and the Parties had agreed that the Child

would return by September so that she could start the school semester in Jamaica. (Id. ¶ 19.) By

September 2020, Respondent had not returned the Child to Jamaica. (Id. ¶ 20.) According to

Petitioner, she never consented to the Child staying in the United States, and Respondent refused

to return the Child to Jamaica despite frequent requests for her return. (Id. ¶ 22.) Petitioner also

alleged that the Child expressed to her that she wanted to return to Jamaica. (Id. ¶ 23.)

According to Respondent, he believed it was safer for the Child to remain in the United States

because the risk of COVID-19 was greater in Jamaica. (Aff. of Robert. R. Colquhoun




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(“Colquhoun Aff.”) ¶ 4 (Dkt. No. 18).) As of November 21, 2021, the Parties were involved in

divorce and custody proceedings in Jamaica. (Id. ¶ 5.)

       B. Procedural History

       Petitioner filed the Petition on August 23, 2021. (Dkt. No. 1.) On the same day, Richard

Min, Esq. (“Min”) filed a Notice of Appearance indicating that he was representing Petitioner in

this matter on a pro bono basis. (Dkt. No. 3.) On August 25, 2021, Petitioner filed Motion to

Expedite the Proceedings. (Dkt. No. 5.) On the same day, the Court granted Petitioner’s request

to proceed in forma pauperis. (Dkt. No. 6.) The Court issued an Order to Show Cause on

September 30, 2021. (Dkt. No. 8.) After a few adjournments, the Court held a hearing on

November 3, 2021, (see Dkt. (minute entry for Nov. 3, 2021)), during which the Parties signed

and the Court entered a Voluntary Return Order securing the return of the Child to Jamaica,

(Dkt. No. 14). Petitioner filed the Motion for Attorney’s Fees and Costs on November 17, 2021,

along with accompanying papers that were filed on December 9, 2021. (Dkt. Nos. 15–17.) Also

on December 9, 2021, Respondent filed a Reply Affidavit. (Dkt. No. 18.)

                                          II. Discussion

       A. Applicable Law

       The Hague Convention provides that, where a court orders the return of a child under the

Convention, the court:

       may, where appropriate, direct the person who removed or retained the child, or
       who prevented the exercise of rights of access, to pay necessary expenses incurred
       by or on behalf of the applicant, including travel expenses, any costs incurred or
       payments made for locating the child, the costs of legal representation of the
       applicant, and those of returning the child.

Hague Convention, art. 26 (emphasis added). ICARA provides

       [a]ny court ordering the return of a child pursuant to an action brought under section
       11603 of this title shall order the respondent to pay necessary expenses incurred by

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       or on behalf of the petitioner, including court costs, legal fees, foster home or other
       care during the course of proceedings in the action, and transportation costs related
       to the return of the child, unless the respondent establishes that such order would
       be clearly inappropriate.

22 U.S.C. § 9007(b)(3) (emphasis added). The Second Circuit has held that, in light of these

provisions, “a prevailing petitioner in a return action is presumptively entitled to necessary costs,

subject to the application of equitable principles by the district court.” Ozaltin v. Ozaltin, 708

F.3d 355, 375 (2d Cir. 2013). The Second Circuit has also held that “the appropriateness of such

costs depends on the same general standards that apply when ‘attorney’s fees are to be awarded

to prevailing parties only as a matter of the court’s discretion.’” Id. (quoting Fogerty v. Fantasy,

Inc., 510 U.S. 517, 534 (1994)); see also Nissim v. Kirsh, No. 18-CV-11520, 2020 WL 3496988,

at *2 (S.D.N.Y. June 29, 2020) (same). “There is no precise rule or formula for making these

determinations, but instead equitable discretion should be exercised in light of the [relevant]

considerations.” Ozaltin, 708 F.3d at 375. (alteration in original).

       B. Application to Facts

               1. Appropriateness of Award

       The first question is whether Petitioner is the prevailing party, given that Respondent

voluntarily agreed to return A.C. to Jamaica pursuant to a Voluntary Return Order. Petitioner

points to Salazar v. Maimon, 750 F.3d 514 (5th Cir. 2014), in which the Fifth Circuit held that

“both judgments on the merits and settlement agreements enforced through consent decrees are

sufficient to create prevailing party status for purposes of authorizing an award of attorneys’

fees,” because “[a]lthough [the respondent’s] relinquishment [of the child] was voluntary, the

court order accepting the parties’ agreement was a judicial act that modified [the respondent’s]

behavior to confer a direct benefit upon [the petitioner].” Id. at 522. (See also Pet’r’s Mem. ¶¶

42–44.) In Salazar, the appellate court affirmed the district court’s decision to award the

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petitioner attorney’s fees after the parties reached a settlement in which the respondent agreed to

voluntarily return the child to petitioner. Id. at 517.

       In Onrust v. Larson, No. 15-CV-122, 2015 WL 6971472 (S.D.N.Y. Nov. 10, 2015), the

court, citing Salazar, acknowledged that “to be a prevailing party under ICARA, a party need not

win at trial or summary judgment” and that “a consent decree can suffice,” but nevertheless

declined to award attorney’s fees, noting that, “consistent with the mutual benefits yielded by the

settlement, it is right that each party bear its own fees and costs.” Id. at *7, *12. Like the

consent decree in Onrust, the Voluntary Return Order “gives the parties an agreed forum to

which to turn in the event of future disagreements about [the Child’s] care and custody.” Id. at

*12. (See Voluntary Return Order ¶ 3 (“[A]ll future custody/visitation or other issues pertaining

to the minor child shall be determined by the courts in Jamaica, where there are ongoing

proceedings.”).) However, in Ontrust, “both parties made important concessions,” such that the

court therefore viewed both parties as having prevailed. Onrust, 2015 WL 6971472, at *12.

       Here, like in Salazar, but unlike in Ontrust, the Voluntary Return Order primarily

represents a concession on Respondent’s part, because it mandates that he return the Child to

Jamaica and designates Jamaica as the Child’s home state. (See Voluntary Return Order ¶¶ 1, 3.)

In contrast, in Ontrust, respondent secured considerable concessions from petitioner, including

extended and delineated visitation with the child during the year, as well as meaningful

protections to guard against a recurrence of abuse that the child suffered at the hands of

petitioner and her partner. Ontrust, 2015 WL 6971472, at *12. There are no such allegations of

wrongdoing by Petitioner in the instant case, and the Voluntary Return Order does not

affirmatively give Respondent visitation rights—it simply leaves the determination up to the

court in Jamaica. (See generally Voluntary Return Order; Colquhoun Aff.) Notably, also like in



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Salazar, the conflict arose when the Respondent did not return the Child to Petitioner after

summer break ended and school was scheduled to begin, contrary to the Parties’ informal

custody arrangement. (See Pet. ¶¶ 20–22.)1 The Court finds that the instant facts are more

similar to Salazar than Ontrust. Petitioner is therefore the prevailing party and is presumptively

entitled to necessary costs. Ozaltin, 708 F.3d at 375.

       “[The] presumption of an award of expenses to a prevailing petitioner is subject to a

broad caveat denoted by the words, ‘clearly inappropriate.’” Souratgar v. Lee Jen Fair, 818 F.3d

72, 79 (2d Cir. 2016). “Generally, in determining whether expenses are “clearly inappropriate,”

courts have considered the degree to which the petitioner bears responsibility for the

circumstances giving rise to the fees and costs associated with a petition.” Id. For example, in

Souratgar, the Second Circuit found that an award of attorney’s fees and costs would be “clearly

inappropriate” where “the petitioner engaged in multiple, unilateral acts of intimate partner

violence against [the respondent] and that [the respondent’s] removal of the child from the

habitual country was related to that violence.” Id. at 80. Here, by contrast, there are no

allegations that Petitioner committed intimate partner violence or anything close to that. In fact,

Petitioner alleges that she and Respondent separated because he became “physically abusive”

toward her. (Pet. ¶ 17.)2




       1 The Court notes that in Salazar, the respondent’s refusal to return the child after the

child’s summer break violated a custody order that was already in place in Venezuela. Salazar,
750 F.3d at 517. Here, by contrast, the custody proceedings in Jamaica are still ongoing.
(Colquhoun Aff. ¶ 5.)
       2 The Court notes that, because the Parties settled and the Court did not hold a hearing, it

will treat the allegation of physical abuse as an allegation and will make no finding of fact on the
matter.
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       In considering whether an award of fees and costs would be clearly inappropriate, courts

within the Second Circuit have also considered whether the respondent had “a reasonable basis

for removing the children to the United States.” Ozaltin, 708 F.3d at 375. Here, Respondent

alleges that he did not return the Child to Jamaica in August 2020 due to the risk of the COVID-

19 pandemic, which he believed was greater in Jamaica than in the United States. (Colquhoun

Aff. ¶ 4.) Even if the Court credited this explanation—which Respondent does not back up with

any data—it would not explain why he still had not returned the Child to Jamaica a year later,

when the Petition was filed.

       Finally, “a respondent’s inability to pay an award is a relevant equitable factor for courts

to consider in awarding expenses under ICARA.” Souratgar, 818 F.3d at 81. Here, the Court is

unable to take Respondent’s ability to pay into account because the Respondent did not provide

any information regarding his financial condition. (See Colquhoun Aff.) See also Paulus ex rel.

P.F.V. v. Cordero, No. 12-CV-986, 2013 WL 432769, at *10 (M.D. Pa. Feb. 1, 2013) (finding

that the respondent did not “establish that ordering her to pay attorneys’ fees [was] clearly

inappropriate” where the “record [was] devoid of any evidence or documentation showing [the

respondent’s] employment status, income, or assets”); Knigge ex rel. Corvese v. Corvese, No.

01-CV-5743, 2001 WL 883644, at *4 (S.D.N.Y. Aug. 6, 2001) (declining to consider the

respondent’s ability to pay where he did not provide any information to the court indicating that

he would “suffer any financial hardship by paying the expenses incurred by petitioner in th[e]

case”). That Respondent represents himself does not change this result. For example, in Gee v.

Hendroffe, No. 14-CV-2795, 2015 WL 2151885, at *3 (S.D. Tex. May 7, 2015), the court

awarded attorney’s fees and costs to a pro se respondent where she “fail[ed] to provide

documentation of financial status. Id. at *3.



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       In sum, after assessing the relevant equitable factors, and in the “absence of

countervailing equitable factors in favor of [Respondent],” Souratgar, 818 F.3d at 82, the Court

finds that awarding Petitioner attorney’s fees and costs would not be clearly inappropriate.

Petitioner is thus entitled to necessary fees and costs.

       This result is not changed by the fact that Petitioner was represented by pro bono counsel.

“[T]he fact that the petitioner in this case was represented by pro bono counsel does not provide

a basis for disregarding the Conventions fee provision.” Haimdas v. Haimdas, 720 F. Supp. 2d

183, 209 (E.D.N.Y. 2010), aff’d, 401 F. App’x 567 (2d Cir. 2010); see also Cuellar v. Joyce, 603

F.3d 1142, 1143 (9th Cir. 2010) (“The fact that [the petitioner’s] lawyers provided their services

pro bono does not make a fee award inappropriate.”); Sullivan v. Sullivan, No. CV-09-545, 2010

WL 1651994, at *1 (D. Idaho Apr. 21, 2010) (“[E]ven where a case is taken on a pro bono basis,

the [p]etitioner is still entitled to recovery of reasonable attorney fees.”). This serves several

purposes: (1) “to deter future child abductions,” and (2) “encourage lawyers to represent

petitioners in Hague Convention cases on a pro bono basis in the future.” In re JR, No. 16-CV-

3863, 2017 WL 74739, at *4 (S.D.N.Y. Jan. 5, 2017). However, “it is a factor that cuts against

any such award.” Vale v. Avila, No. 06-CV-1246, 2008 WL 5273677, *2 (C.D. Ill. Dec. 17,

2008). Accordingly, the Court finds that

       although [Burger Green & Min LLP] provided competent and professional legal
       services throughout the course of this case, the fact remains that it agreed to take
       on the case on a pro bono basis and therefore did not expect to be paid for its
       services or reimbursed for its expenses. While, nevertheless, full payment of its
       legal fees is appropriate to carry out ICARA’s fee-shifting provisions, full payment
       of costs is not.

Duran-Peralta v. Luna, No. 16-CV-7939, 2018 WL 1801297, at *6 (S.D.N.Y. Apr. 2, 2018)

(reducing the attorney’s fees by 30% and costs by 50% where the petitioner was represented by

pro bono counsel).

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               2. Amount of Award

       The Court next considers the amount of attorney’s fees and costs to be awarded. “As for

the appropriate amount of attorneys’ fees and costs, “[b]oth the [Second Circuit] and the

Supreme Court have held that the lodestar—the product of a reasonable hourly rate and the

reasonable number of hours required by the case—creates a presumptively reasonable fee.”

Nissim, 2020 WL 3496988, at *2 (quoting Millea v. Metro-N. R. Co., 658 F.3d 154, 166 (2d Cir.

2011)) (quotation marks omitted). “Courts determine the reasonable hourly rate by considering

case-specific variables such as the complexity of the case, the amount of work required, the

attorney’s experience, and awards in similar cases.” Id. at 3 (citing Arbor Hill Concerned

Citizens Neighborhood Ass’n v. Cnty. of Albany & Albany Cnty. Bd. of Elections, 522 F.3d 182,

189 (2d Cir. 2008)) (quotation marks omitted). Courts also consider whether the rates sought by

the petitioner are “in line with those [rates] prevailing in the community for similar services by

lawyers of reasonably comparable skill, experience, and reputation.” Reiter v. MTA New York

City Transit Auth., 457 F.3d 224, 232 (2d Cir. 2006).

       “Notably, courts in this District have not awarded more than $425 per hour in a Hague

Convention case.” Nissim, 2020 WL 3496988, at *3 (quotation marks omitted); see also Grano

v. Martin, No. 19-CV-6970, 2021 WL 3500164, at *3 (S.D.N.Y. Aug. 9, 2021) (same); Wtulich

v. Filipkowska, No. 16-CV-2941, 2020 WL 1433877, at *2 (E.D.N.Y. Mar. 24, 2020) (“[C]ourts

in surrounding districts have generally approved hourly rates no higher than $425 for [Hague

Convention] litigation and have typically approved rates of $200 to $400, depending on the

relevant attorney’s experience.”); Duran-Peralta, 2018 WL 1801297, at *2 (same) (collecting

cases). Courts in this District have also held that “it is appropriate to determine whether the

billing attorneys are more like members of a large New York City law firm than they are like



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members of a nonprofit organization or a two or three-person [] law firm,” Finch v. N.Y. State

Office of Children & Family Servs., 861 F. Supp. 2d 145, 153 (S.D.N.Y. 2012). If an attorney

works at a large international law firm as opposed to a small local firm, it weighs in favor of

awarding a higher rate. See Duran-Peralta, 2018 WL 1801297, at *3. It appears that Burger

Green & Min LLP is a 14-person law firm based out of New York City and Garden City, New

York, focusing on domestic and international family law matters. See About, GREEN KAMINER

MIN & ROCKMORE LLP, https://www.burgergreenlaw.com/about/ (last visited July 21, 2022).3

The firm is therefore somewhere in between a large international law firm and a small two or

three-person firm, and the Court will adjust its analysis accordingly.

       Here, Petitioner requests the following hourly rates for five attorneys from Burger Green

& Min LLP: Richard Min ($600/hour), Nancy Green ($550/hour), Michael Banuchis

($525/hour), Samantha Jacobson ($325/hour), and Sydney Goldstein ($250/hour). (See Pet’r’s

Mot. ¶¶ 14–30.) The Court will evaluate the reasonableness of each attorney. First, Richard Min

is an experienced partner with a specialty family law and Hague Convention cases. (Id. ¶ 16.)

He has litigated over 30 child abduction cases, including serving as lead counsel for at least 17

Hague Convention trials. (Id. ¶ 21.) He charges a rate of $600/hour. (Id. ¶ 24.) Given Min’s

experience and expertise, but keeping in mind the prevailing rates in this District and the size of

the firm at which Min practices, the Court finds that a rate of $425 is appropriate. See Grano,

2021 WL 3500164, at *3 (reducing rate from $600 to $425/hour for attorney with over 40 years

of practice and who was a “leading expert” in the Hague Convention and had handled



       3 Although the law firm is referred to as Burger Green & Min LLP in Petitioner’s papers,

(see e.g., Pet’r’s Mot.), on its website the firm is referred to as Green Kaminer Min & Rockmore
LLP, see GREEN KAMINER MIN & ROCKMORE LLP, https://www.burgergreenlaw.com/ (last
visited July 21, 2022). The Court will refer to the law firm as it is referenced in the Petitioner’s
papers.
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“hundreds” of Hague Convention cases); Sanguineti v. Boqvist, No. 15-CV-3159, 2016 WL

1466552, at *4 (S.D.N.Y. Apr. 14, 2016) (awarding $335/hour to solo practitioner with over a

decade of experience in family law with a focus on Hague Convention); In re One Infant Child,

No. 12-CV-7797, 2014 WL 704037, at *4 (S.D.N.Y. Feb. 20, 2014), rev’d sub nom. on other

grounds, Souratgar, 818 F.3d 72 (2d Cir. 2016) (awarding $425 per hour to a lawyer with 37

years of practice in the family law field who had handled many Hague Convention cases);

Distler v. Distler, 26 F. Supp. 2d 723, 727 & n.3 (D.N.J. 1998) (awarding $350 per hour in a

Hague Convention case for “very experienced” counsel who had over twenty years of experience

and had handled 165 cases under the Convention).

       Next, Nancy Green is a partner with 29 years of experience primarily as a family law

attorney and has litigated “several” Hague Convention cases. (Pet’r’s Mot. ¶ 25.) Her billing

rate is $550/hour. (Id. ¶ 26.) Green is undoubtedly an experienced attorney, but, by Petitioner’s

own admission, she has only litigated a handful of Hague Convention cases. The Court therefore

finds that a rate of $350 is warranted. See Duran-Peralta, 2018 WL 1801297, at *3 (reducing

hourly rate from $875 to $400 for a partner at an international law firm with over 40 years of

experience who had only litigated one other Hague Convention case); In re One Infant Child,

2014 WL 704037, at *4 (awarding $300/hour for attorney with 26 years of practice).

       Michael Banuchis is a partner with 12 years of experience, which includes litigating 11

Hague Convention cases. (Pet’r’s Mot. ¶ 27.) His billing rate is $525/hour. (Id. ¶ 28.) The

Court finds, on this record, that $325/hour is an appropriate billing rate for Banuchis. See

Knigge, 2001 WL 883644, at *3 (awarding $200/hour to an attorney who was 13 years out of

law school and had worked on at least one Hague Convention case); see also Hulsh v. Hulsh, No.




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19-CV-7298, 2021 WL 963770, at *4 (N.D. Ill. Mar. 15, 2021) (citing Nissim and reducing

partner’s rate from $375 to $262).

       Samantha Jacobson is an associate with three years of experience and has worked on

seven Hague Convention Cases. (Pet’r’s Mot. ¶ 29.) Her billing rate is $325/hour. (Id.)

Although Jacobson has worked on a fair number of Hague Convention cases in her time as an

attorney, courts in this district have awarded lower hourly rates to associates with far more

experience. See, e.g., Nissim, 2020 WL 3496988, at *4 (awarding rate of $225/hour to associate

with ten years of experience); see also Hulsh, 2021 WL 963770, at *4 (citing Nissim and

reducing rate of associate from $200 to $175/hour). The Court therefore finds that a rate of

$200/hour is appropriate for Jacobson.

       Finally, Sydney Goldstein is a 2021 law school graduate who, at the time that the Motion

was filed, had not yet taken the New York State Bar. (Pet’r’s Mot. ¶ 30.) Goldstein’s rate is

$250/hour. Although Goldstein has graduated from law school, since she is not yet a practicing

attorney, the Court will consider her to be somewhere between an attorney and a paralegal when

determining her appropriate billing rate. “Courts in this District typically award rates not to

exceed $200 per hour for paralegals.” Duran-Peralta, 2018 WL 1801297, at *3; Sanguineti,

2016 WL 1466552, at *4 (collecting cases for the proposition that courts within this district

typically award $100–$130 for paralegal work). The Court therefore finds that $175/hour is an

appropriate rate for Goldstein.

       The Court next considers the reasonableness of the hours expended by Petitioner’s

attorneys. “In determining the number of hours reasonably required, a court should exclude

‘excessive, redundant[,] or otherwise unnecessary hours.’” Knigge, 2001 WL 883644, at *2

(quoting Quaratino v. Tiffany & Co., 166 F.3d 422, 425 (2d Cir. 1999)). Petitioner submits that



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her attorneys expended 47.3 hours working on her case, which amounted to a total of $18,830 in

attorney’s fees. (Pet’r’s Mot. ¶ 12.)4 Petitioner reduced this number by two-thirds in her

Motion, requesting a total of $12,553.33 in attorney’s fees. (Id. ¶ 6.) Although the Court does

not find that the hours expended by the attorneys in this case were excessive, the Court notes two

compelling reasons why the two-thirds reduction is nevertheless appropriate, even with the

Court’s reduction in the attorneys’ billing rates. First, as discussed above, the fact that Burger

Green & Min LLP represented Petitioner on a pro bono basis merits a reduction in the amount of

fees awarded. See, e.g., In re JR, 2017 WL 74739, at *3 (“Although the fact that the firm

appeared pro bono does not preclude an award of fees and costs, it does warrant a reduction in

the amount awarded.”); see also Rosasen v. Rosasen, No. 19-CV-10742, 2020 WL 4353679, at

*4 (C.D. Cal. June 5, 2020) (noting that the petitioner reduced their requested attorney’s fees by

50%); Reply Brief for Petitioner at 3, Rosasen, 2020 WL 4353679 (No. 127), 2020 WL

12802492 (noting that the petitioner in Rosasen was represented by pro bono counsel). Second,

the fact that the case was settled quickly and without a trial merits a further reduction. In

Salazar, for example, the Fifth Circuit affirmed the district court’s reduction of fees by

approximately 50% where the parties settled before trial. Salazar, 750 F.3d at 523. Even where

the parties do go to trial, however, courts in this District have reduced awards by substantial

amounts. See, e.g., Sanguineti, 2016 WL 1466552, at *5 (reducing attorney hours spent drafting




       4 Petitioner provided the specific number of hours that each attorney expended on her

case and organized that data in a chart. The numbers are as follows: Min (9.4 hours), Green (3.8
hours), Banuchis (0.5 hours), Jacobson (28.1 hours), and Goldstein (5.5). (See Pet’r’s Mot. ¶
14.) There is also an entry for an employee with the initials “EB,” who billed 0.8 hours at a rate
of $175/hour. (See id.) Because Petitioner provides no further information about EB, including
their full name, whether they are a paralegal or an attorney, what experience they have, and what
type of work they did for the case, the Court will not consider EB’s hours as part of its
calculations.
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pretrial material and preparing for trial by approximately 65%). The Court will therefore further

reduce the fees awarded by two-thirds. This amounts to a total of $7,341.67.5 The Court also

adds costs in the amount of $300, which Burger Green & Min LLP paid to a process server on

Petitioner’s behalf. (See Pet. ¶ 15.) Thus, the Court awards Petitioner a total of $7,641.67.

                                          III. Conclusion

       For the reasons articulated above, Petitioner’s Motion for Attorney’s Costs and Fees is

granted in part. That is, Petitioner is awarded attorney’s fees and costs in the amount of

$7,641.67. The Clerk of Court is respectfully directed to terminate the pending Motion, (Dkt.

No. 15), and close this case.



SO ORDERED.
DATED:         July 21, 2022
               White Plains, New York
                                                     ____________________________________
                                                     KENNETH M. KARAS
                                                     UNITED STATES DISTRICT JUDGE




       5 The Court calculated this number by multiplying the number of hours for each attorney

as provided in the Motion, (see Pet’r’s Mot. ¶ 14), by the hourly rate for each attorney as
determined by the Court above. That is, $400/hour for Min, $350/hour for Green, $325/hour for
Banuchis, $200/hour for Jacobson, and $175/hour for Goldstein. See supra Part II.B.2. The
Court then reduced that number by two-thirds.
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